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 6                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
 7                                     AT SEATTLE

 8 UNITED STATES OF AMERICA,                         )
                                                     )
 9                                      Plaintiff,   )    Case No. CR05-231-JCC
                                                     )
10         v.                                        )    PROPOSED FINDINGS OF FACT
                                                     )    AND DETERMINATION AS TO
11 BRITT AUGUSTS ANDERSON,                           )    ALLEGED VIOLATIONS OF
                                                     )    SUPERVISED RELEASE
12                                   Defendant.      )

13                                         INTRODUCTION

14      I conducted a hearing on alleged violations of supervised release in this case on January 5,

15 2010. The defendant appeared pursuant to a summons issued in this case. The United States

16 was represented by Ye-Ting Woo, and defendant was represented by Howard Ratner. Also

17 present was U.S. Probation Officer Andrew Lorenzen. The proceedings were digitally recorded.

18                                SENTENCE AND PRIOR ACTION

19      Defendant was sentenced on October 6, 2006 by the Honorable John C. Coughenour for

20 Conspiracy to commit RICO. He received 30 months of detention and 2 years of supervised

21 release.

22      On April 21, 2009, Anderson’s conditions of supervision were modified by the Court to

23 include 120 days of home confinement with electronic monitoring, following Anderson’s


     PROPOSED FINDINGS OF FACT AND DETERMINATION AS
     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE - 1
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 1 admission to the following violations of supervised release: committing the crime of negligent

 2 driving on March 25, 2009; failing to report law enforcement contact on March 5, 2009 within

 3 72 hours; associating with a convicted felon, Scott Baker, on March 12, 2009; and associating

 4 with a person engaged in criminal activity on March 12, 2009. Anderson successfully completed

 5 his term of home confinement with electronic monitoring on September 9, 2009.

 6                              PRESENTLY ALLEGED VIOLATIONS

 7       In a petition dated December 7, 2009, U.S. Probation Officer Angela M. Peru alleged that

 8 defendant violated the following conditions of supervised release:

 9       1.      Using methamphetamine on or about October 5, 2009, in violation of a standard

10 condition of supervision.

11       2.      Using methamphetamine on or about November 29, 2009, in violation of a standard

12 condition of supervision.

13                      FINDINGS FOLLOWING EVIDENTIARY HEARING

14       Defendant admitted the above violations, waived any hearing as to whether they occurred,

15 and was informed the matter would be set for a disposition hearing January 14, 2010 at 9:00 am

16 before District Judge John C. Coughenour.

17                       RECOMMENDED FINDINGS AND CONCLUSIONS

18       Based upon the foregoing, I recommend the court find that defendant has violated the

19 conditions of his supervised release as alleged above, and conduct a disposition hearing.

20       DATED this 5th day of January, 2010.

21

22
                                                        A
                                                        BRIAN A. TSUCHIDA
                                                        United States Magistrate Judge
23


     PROPOSED FINDINGS OF FACT AND DETERMINATION AS
     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE - 2
